                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  IN RE:                                      )   3:09-CV-009     3:09-CV-568 3:09-CV-604
                                              )   3:09-CV-014     3:09-CV-569 3:09-CV-605
                                              )   3:09-CV-048     3:09-CV-570 3:10-CV-191
                                              )   3:09-CV-054     3:09-CV-571 3:11-CV-217
  TENNESSEE VALLEY AUTHORITY                  )   3:09-CV-064     3:09-CV-572 3:11-CV-489
  ASH SPILL LITIGATION                        )   3:09-CV-114     3:09-CV-578 3:11-CV-574
                                              )   3:09-CV-491     3:09-CV-579 3:11-CV-575
                                              )   3:09-CV-495     3:09-CV-582 3:11-CV-581
                                              )   3:09-CV-496     3:09-CV-583 3:11-CV-582
                                              )   3:09-CV-497     3:09-CV-584 3:11-CV-588
                                              )   3:09-CV-504     3:09-CV-589 3:11-CV-589
                                              )   3:09-CV-517     3:09-CV-590 3:11-CV-590
                                              )   3:09-CV-529     3:09-CV-591 3:11-CV-591
                                              )   3:09-CV-550     3:09-CV-592 3:11-CV-596
                                              )   3:09-CV-553     3:09-CV-593 3:11-CV-603
                                              )   3:09-CV-554     3:09-CV-594 3:11-CV-604
                                              )   3:09-CV-555     3:09-CV-595 3:11-CV-605
                                              )   3:09-CV-563     3:09-CV-596 3:11-CV-606
                                              )   3:09-CV-564     3:09-CV-597 3:11-CV-607
                                              )   3:09-CV-565     3:09-CV-602 3:11-CV-612
                                              )   3:09-CV-566     3:09-CV-603 3:11-CV-613
                                              )                         (VARLAN/GUYTON)


                 ORDER DISMISSING ALL CLAIMS OF ALL PLAINTIFFS
                WITH PREJUDICE AND IMPLEMENTING CERTAIN OTHER
                     TERMS OF MEDIATED GLOBAL RESOLUTION

           These sixty-three civil actions pending against the Tennessee Valley Authority (“TVA”),

  arise from the December 22, 2008 ash spill at TVA’s Kingston Fossil Plant in Roane County,

  Tennessee; collectively, these actions often are referred to as the Tennessee Valley Authority

  Ash Spill Litigation. On November 20, 2012, the Court issued an Order referring these actions

  to mediation, and in July 2014, plaintiffs and TVA, reached a mediated Global Resolution of

  these cases under the guidance of the Court-appointed mediators.




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           To effectuate the mediated global resolution, all plaintiffs and TVA filed a Joint Motion

  for an Order Dismissing all Claims of all Plaintiffs With Prejudice and Implementing Certain

  Other Terms of Mediated Global Resolution, with an attached proposed order.1

           The Court, having reviewed the records in these cases, the pending joint motion of

  plaintiffs and TVA, and the proposed order attached to that joint motion, and finding that the

  joint motion is well taken and should be granted, it is hereby ORDERED:

           1.          All remaining claims of all plaintiffs in the above-captioned actions are dismissed

  with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2) with no costs, fees, or

  expenses to be claimed by any party pursuant to Federal Rule of Civil Procedure 54.

           2.          TVA is authorized and directed to deposit $27,800,000.00 with the Clerk of the

  Court within seven days of the entry of this Order to be disbursed by the Clerk as ordered by the

  Court.

           3.          Upon receipt of the $27,800,000.00 from TVA, the Clerk is authorized and

  directed to disburse $25,500,000.00 to counsel for plaintiffs for the purpose of making payments

  in accordance with the July 9, 2014 Global Resolution Term Sheet agreed to by the parties as

  part of the Mediated Global Resolution. Counsel for plaintiffs shall provide the Clerk with the

  Federal Employer Identification Number of all payees listed below prior to any disbursement.

  The disbursements to counsel for plaintiffs shall be made as follows:

                  a.    Friedman, Dazzio, Zulanas & Bowling, P.C.                $2,676,915.68

                  b.    Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.      $5,347,497.46

                  c.    Bunstine, Watson & Becker                                  $158,162.04

                  d.    Lieff Cabraser Heimann & Bernstein, LLP                 $10,060,418.54


           1
               The Court has made some stylistic edits to the proposed order.
                                                     2


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              e.    Ridenour & Ridenour                                      $1,261,432.05

              f.    Pemberton & Scott, LLP                                   $1,433,417.05

              g.    Villari, Brandes & Giannone, P.C.                        $2,025,716.79

              h.    Sherif Guindi, Esq.                                        $529,127.25

              i.    Weitz & Luxenberg, P.C.                                  $2,007,313.14

         4.        The Clerk shall retain the remaining $2,300,000.00 subject to further

  disbursement orders of the Court.

         5.        The Court retains continuing jurisdiction of these cases for the limited purpose of

  authorizing the Clerk to make further disbursements of the monies deposited by TVA and to take

  actions necessary for the interpretation, construction, execution, and enforcement of the

  Mediated Global Resolution.

         6.        For purposes of making all filings relating to the Court’s continuing jurisdiction

  and further disbursements of the monies deposited by TVA, all plaintiffs designate attorneys Jeff

  Friedman and Matt Conn as their authorized representatives and TVA designates Deputy General

  Counsel Edwin W. Small as its authorized representative. All such filings shall be made in

  Blanchard et al., v. Tennessee Valley Authority, Case No. 3:09-CV-09, the earliest filed of these

  actions and shall be deemed as filed in all sixty-three actions.

         7.        The Clerk shall enter this Order as a separate final judgment pursuant to Federal

  Rule of Civil Procedure 58 in each of the captioned actions, after which the Clerk shall CLOSE

  these actions.

         ENTER:

                                          s/ Thomas A. Varlan
                                          CHIEF UNITED STATES DISTRICT JUDGE
   ENTERED AS A JUDGMENT
       s/ Debra C. Poplin
      CLERK OF COURT
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